 

  

E

-E»I*'

+Gl:l

 

{--}Dm-®weh

 

       

yt-'-Lrt-'ut-'.l:artnicr'nae.cor'n,-'|oan|cn:ll:uplIr

~\\\\‘~L .

§ FaunicMae L-Otl.tl L-O()kup

The Fannie lulae Loan Looltup enables mortgage borrowers to quickly determine if Fannie lulae owns their
loan by providing a street address, unit, eity, state, and Z|P eode.

lf Fannie lulae owns your loan, you may be eligible for programs designed to make your mortgage more
affordable - like the Home itffordab|e Hetinanee Program intRP} or the Home ltffordab|e lulodifieation
F'rogram [HAMP].

Etreethddress * l_lhit
1332 AlFlF'CIRT Fl[l

City Zip Co d E *
COATEEV|LLE d 1332|3

l"u'littt:h Fol..lnd.

Elased on the property information you enteredl Fannie hiae owns a loan on the property atthis address

Fl."lulatch Found" indicates that you might be eligible for a lulalring l-lome hffordable® refinance or modification

ifyou are interested in a refinance or modification please contactyour mortgage company fthe organization
to whom you mal-:e your monthly mortgage payments}r to confirm these results and assess your options

Ele sure to yisitl'tnow‘fouriflmions.eom and MalcingHome.ll.ffordab|e.goy to learn more about refinancingl
modification programs and other options ayailaple for homeowners

Cln l'\inow"r'ourIfli[gions.l::oml you can access refinance and modification calculators so you can estimate

payments and possible monthly sayings ln addition find Freuuently ilsked tituestionsl Contact information
for l-lAFlF' Lehders and lulortgage Eeryicers and more.

Seareh ltgain

The Fannie lulae Loan Lool-:up is proyided as a conyenience for borrowers Fannie lulae mal-ies no
representation warranty or ouarantee redardind the accuracy or completeness ofthe results A search that

i`ir] [Ea * Search lwith Start:page

 

Learn more about your options at
Know‘r’ouri]ptions.com

l.-“-i'hetheryou're a homeowner
looking to refinance oryou're
haying difficult making your
payments the l<how‘r“our
OptionsT'”' website can help you
learn aboutwhat might be best
foryour situation ly”isitthe site to
learn about refinancing your mortgagel obtaining a
modification to loweryour payments or other
options

 

Home Affordable Retinance Program
(HARP}

Eyen ifyou owe more on your home than what it's
worthl you still might be able to refinance your
mortgage. C|iok here to learn more.

Home Affordable lliloditication
Program (HAMP}
Etruggling with your mortgage payments? h loan

modification might help loweryour payments C|ilck
here to learn more.

Tl.i esc|ay, .\'l'tugust C|?, 21:|12

4

August, 2012

Su i'ylo Tu We Th
29 313 31 1 2

ara-as

12 13 14 15 15
19 20 21 22 E
25 22 23 D 30

23456

lr

2:[]2:38 Pi'yl

Change date and time settings...

* t;l lt-:-Zi' air

2 :02 P'|"»'l

 

`|11

 

